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                    EXHIBIT 3
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                                  COMMONWEALTH OF PENNSYLVANIA
                                     OFFICE OF THE GOVERNOR



                     AMENDMENT TO THE ORDER OF
        THE GOVERNOR OF THE COMMONWEALTH OF PENNSYLVANIA
      FOR LIMITED OPENING OF BUSINESSES, LIFTING OF STAY AT HOME
     REQUIREMENTS, AND CONTINUED AGGRESSIVE MITIGATION EFFORTS

   I hereby amend my Order for the “Limited Opening of Businesses, Lifting of Stay at Home
Requirements, and Continued Aggressive Mitigation Efforts” dated May 7, 2020, as amended.

    The list of counties in Section 1(A) and 2(A) is amended to strike “and” after “Pike” and
to add the following after “Schuylkill”:
                , Berks,    Bucks,     Chester,     Delaware,     Lackawanna,       Lancaster,
                Lehigh, Montgomery, Northampton, and Philadelphia.

   Section 3 is amended to add a new sentence at the end of the section as follows:
       Further, enforcement of this Order with respect to the following counties will commence
      on June 5, 2020, at 12:01 a.m.:
              Berks, Bucks, Chester, Delaware, Lackawanna, Lancaster, Lehigh,
              Montgomery, Northampton, and Philadelphia.


                                           GIVEN under my hand and the Seal of the
                                           Governor, at the city of Harrisburg, on this fourth
                                           day of June two thousand twenty, the year of the
                                           commonwealth the two hundred and forty-fourth.



                                           TOM WOLF
                                           Governor
